    Case 3:10-cr-05016-H   Document 1557   Filed 06/04/15   PageID.6769     Page 1 of 1



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                           UNITED STATES DISTRICT COURT                        F\L
                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                          2UI5 JL'H -4 aM 9: 01

UNITED STATES OF AMERICA,                         CASE NO. 10CR5016-1;h,!

                                                  BOOKING NO. 28531-298
                                                                                  1+1
                             Plaintiff,
                   vs.                            JUDGMENT OF DISMISiSAL
ROBERT COTA, JR. (5),
also known as: Bobby,
also known as: Robert Ayala Cota,

                              Defendant.


     IT APPEARING that the defendant is now entitled to be discharged for
the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

~     the Court has granted the oral motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

~     of the offenses as charged in the Second Superseding Indictment and
      the Third Superseding Indictment:

      21 U.S.C. 841(a) (1) and 846 - Conspiracy to DistrLbute Methamphetamine


     IT IS THEREFORE ADJUDGED that the defendant is hereby discharged as to
this case only.


DATED:
